                Case 06-30183                         Doc 1        Filed 02/21/06                 Entered 02/21/06 16:33:39                           Page 1 of 42
(Official Form 1) (10/05)
                                         United States Bankruptcy Court
                                                       District of Connecticut                                                                       Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                       Name of Joint Debtor (Spouse) (Last, First, Middle):
  Toledo-Hernandez, Ernesto


All Other Names used by the Debtor in the last 8 years                                            All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                       (include married, maiden, and trade names):
  DBA Big Ern's Dream Floors, LLC



Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all): Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all):
  xxx-xx-2745
Street Address of Debtor (No. & Street, City, and State):                                         Street Address of Joint Debtor (No. & Street, City, and State):
  15 Chew Street
  West Haven, CT
                                                                                  ZIP Code                                                                                  ZIP Code
                                                                              06516
County of Residence or of the Principal Place of Business:                                        County of Residence or of the Principal Place of Business:
  New Haven
Mailing Address of Debtor (if different from street address):                                     Mailing Address of Joint Debtor (if different from street address):


                                                                                  ZIP Code                                                                                  ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


Type of Debtor (Form of Organization)                        Nature of Business                                         Chapter of Bankruptcy Code Under Which
               (Check one box)                            (Check all applicable boxes.)                                    the Petition is Filed (Check one box)
    Individual (includes Joint Debtors)               Health Care Business
                                                                                                      Chapter 7             Chapter 11            Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                Single Asset Real Estate as defined                                                         of a Foreign Main Proceeding
                                                      in 11 U.S.C. § 101 (51B)
    Partnership                                                                                       Chapter 9             Chapter 12            Chapter 15 Petition for Recognition
                                                      Railroad                                                                                    of a Foreign Nonmain Proceeding
    Other (If debtor is not one of the above
    entities, check this box and provide the          Stockbroker                                                   Chapter 13
    information requested below.)                     Commodity Broker
    State type of entity:
                                                      Clearing Bank                                                          Nature of Debts (Check one box)
                                                      Nonprofit Organization qualified
                                                      under 26 U.S.C. § 501(c)(3)                     Consumer/Non-Business                       Business

                               Filing Fee (Check one box)                                                                       Chapter 11 Debtors
    Full Filing Fee attached                                                                      Check one box:
                                                                                                     Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (Applicable to individuals only) Must
    attach signed application for the court's consideration certifying that the debtor                Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.
                                                                                                  Check if:
    Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must
    attach signed application for the court's consideration. See Official Form 3B.                   Debtor's aggregate noncontingent liquidated debts owed to non-insiders
                                                                                                     or affiliates are less than $2 million.
Statistical/Administrative Information                                                                                                            THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds
    available for distribution to unsecured creditors.
Estimated Number of Creditors
        1-           50-         100-          200-      1000-        5001-       10,001-      25,001-        50,001-     OVER
        49           99          199           999       5,000       10,000       25,000       50,000         100,000    100,000



Estimated Assets
     $0 to           $50,001 to         $100,001 to      $500,001 to      $1,000,001 to      $10,000,001 to     $50,000,001 to      More than
    $50,000           $100,000           $500,000         $1 million       $10 million        $50 million        $100 million      $100 million



Estimated Debts
     $0 to           $50,001 to         $100,001 to      $500,001 to      $1,000,001 to      $10,000,001 to     $50,000,001 to      More than
    $50,000           $100,000           $500,000         $1 million       $10 million        $50 million        $100 million      $100 million
             Case 06-30183               Doc 1        Filed 02/21/06            Entered 02/21/06 16:33:39                             Page 2 of 42
(Official Form 1) (10/05)                                                                                                               FORM B1, Page 2
                                                                                Name of Debtor(s):
Voluntary Petition                                                                Toledo-Hernandez, Ernesto
(This page must be completed and filed in every case)
                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than one, attach additional sheet)
Location                                                               Case Number:                          Date Filed:
Where Filed: - None -
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                           Relationship:                         Judge:

                                  Exhibit A                                                                              Exhibit B
                                                                                  (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,          I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                  have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934          12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                     under each such chapter.
                                                                                  I further certify that I delivered to the debtor the notice required by §342(b) of
                                                                                  the Bankruptcy Code.
      Exhibit A is attached and made a part of this petition.
                                                                                  X    /s/ Neil Crane                                    February 21, 2006
                                                                                      Signature of Attorney for Debtor(s)                    Date
                                                                                       Neil Crane
                                  Exhibit C                                                     Certification Concerning Debt Counseling
                                                                                                       by Individual/Joint Debtor(s)
  Does the debtor own or have possession of any property that poses or
  is alleged to pose a threat of imminent and identifiable harm to public             I/we have received approved budget and credit counseling during
  health or safety?                                                                   the 180-day period preceding the filing of this petition.

      Yes, and Exhibit C is attached and made a part of this petition.                I/we request a waiver of the requirement to obtain budget and
                                                                                      credit counseling prior to filing based on exigent circumstances.
      No                                                                              (Must attach certification describing.)

                                         Information Regarding the Debtor (Check the Applicable Boxes)

                                                           Venue (Check any applicable box)

                 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                 days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                 There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                 Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                 this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                 proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                 sought in this District.


                                     Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                           Check all applicable boxes.

                 Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                  (Name of landlord that obtained judgment)




                                  (Address of landlord)


                 Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                 permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                 possession was entered, and

                 Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                 after the filing of the petition.
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(Official Form 1) (10/05)                                                                                                                        FORM B1, Page 3
                                                                                  Name of Debtor(s):
Voluntary Petition                                                                  Toledo-Hernandez, Ernesto
(This page must be completed and filed in every case)
                                                                             Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                         Signature of a Foreign Representative
                                                                                    I declare under penalty of perjury that the information provided in this petition
     I declare under penalty of perjury that the information provided in            is true and correct, that I am the foreign representative of a debtor in a foreign
     this petition is true and correct.                                             proceeding, and that I am authorized to file this petition.
     [If petitioner is an individual whose debts are primarily consumer             (Check only one box.)
     debts and has chosen to file under chapter 7] I am aware that I may
                                                                                       I request relief in accordance with chapter 15 of title 11. United States Code.
     proceed under chapter 7, 11, 12, or 13 of title 11, United States                 Certified copies of the documents required by §1515 of title 11 are attached.
     Code, understand the relief available under each such chapter, and
     choose to proceed under chapter 7.                                                Pursuant to §1511 of title 11, United States Code, I request relief in accor-
     [If no attorney represents me and no bankruptcy petition preparer                 dance with the chapter of title 11 specified in this petition. A certified copy
     signs the petition] I have obtained and read the notice required by               of the order granting recognition of the foreign main proceeding is attached.
     §342(b) of the Bankruptcy Code.
     I request relief in accordance with the chapter of title 11, United
                                                                                  X
                                                                                      Signature of Foreign Representative
     States Code, specified in this petition.

 X    /s/ Ernesto Toledo-Hernandez                                                    Printed Name of Foreign Representative
     Signature of Debtor Ernesto Toledo-Hernandez
                                                                                      Date
 X
     Signature of Joint Debtor                                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy
     Telephone Number (If not represented by attorney)                                petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
                                                                                      document for compensation and have provided the debtor with a
     February 21, 2006                                                                copy of this document and the notices and information required
     Date                                                                             under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
                                                                                      guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                            Signature of Attorney                                     setting a maximum fee for services chargeable by bankruptcy
                                                                                      petition preparers, I have given the debtor notice of the maximum
 X    /s/ Neil Crane                                                                  amount before preparing any document for filing for a debtor or
     Signature of Attorney for Debtor(s)                                              accepting any fee from the debtor, as required in that section.
                                                                                      Official Form 19B is attached.
      Neil Crane
     Printed Name of Attorney for Debtor(s)
                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
      Law Offices of Neil Crane, LLC
     Firm Name
      2700 Whitney Avenue                                                             Social Security number (If the bankrutpcy petition preparer is not
      Hamden, CT 06518                                                                an individual, state the Social Security number of the officer,
                                                                                      principal, responsible person or partner of the bankruptcy petition
                                                                                      preparer.)(Required by 11 U.S.C. § 110.)
     Address

                                 Email: neil.crane@snet.net
      203-230-2233 Fax: 203-230-8484
     Telephone Number
                                                                                      Address
     February 21, 2006
     Date
                                                                                  X
               Signature of Debtor (Corporation/Partnership)
                                                                                      Date
     I declare under penalty of perjury that the information provided in
     this petition is true and correct, and that I have been authorized to            Signature of Bankruptcy Petition Preparer or officer, principal,
     file this petition on behalf of the debtor.                                      responsible person,or partner whose social security number is
     The debtor requests relief in accordance with the chapter of title 11,           provided above.
     United States Code, specified in this petition.
                                                                                      Names and Social Security numbers of all other individuals who
                                                                                      prepared or assisted in preparing this document unless the
 X                                                                                    bankruptcy petition preparer is not an individual:
     Signature of Authorized Individual

     Printed Name of Authorized Individual
                                                                                      If more than one person prepared this document, attach additional
                                                                                      sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual
                                                                                      A bankruptcy petition preparer’s failure to comply with the
                                                                                      provisions of title 11 and the Federal Rules of Bankruptcy
     Date
                                                                                      Procedure may result in fines or imprisonment or both 11 U.S.C.
                                                                                      §110; 18 U.S.C. §156.
               Case 06-30183                      Doc 1           Filed 02/21/06             Entered 02/21/06 16:33:39   Page 4 of 42
B 201 (10/05)

                                                          UNITED STATES BANKRUPTCY COURT
                                                             DISTRICT OF CONNECTICUT

                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                              OF THE BANKRUPTCY CODE

                      In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
             credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
             you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
             information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
             easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
             decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($220 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $274)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($150 filing fee,
$39 administrative fee: Total fee $189)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.



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             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                                                                               Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

 Neil Crane                                                                                  X /s/ Neil Crane                             February 21, 2006
Printed Name of Attorney                                                                       Signature of Attorney                      Date
Address:
2700 Whitney Avenue
Hamden, CT 06518
203-230-2233

                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.

 Ernesto Toledo-Hernandez                                                                    X /s/ Ernesto Toledo-Hernandez               February 21, 2006
 Printed Name(s) of Debtor(s)                                                                  Signature of Debtor                        Date

 Case No. (if known)                                                                         X
                                                                                                 Signature of Joint Debtor (if any)       Date




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Form 6-Summary
(10/05)


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                                                                   United States Bankruptcy Court
                                                                                 District of Connecticut
  In re          Ernesto Toledo-Hernandez                                                                              Case No.
                                                                                                               ,
                                                                                             Debtor
                                                                                                                       Chapter                  7




                                                                        SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities."

                                                                                                                    AMOUNTS SCHEDULED

        NAME OF SCHEDULE                                   ATTACHED NO. OF                        ASSETS                LIABILITIES            OTHER
                                                            (YES/NO) SHEETS

A - Real Property                                                  Yes                1               190,000.00


B - Personal Property                                              Yes                3                    4,590.00


C - Property Claimed as Exempt                                     Yes                1


D - Creditors Holding Secured                                      Yes                2                                          187,299.74
      Claims
E - Creditors Holding Unsecured                                    Yes                2                                            2,502.00
      Priority Claims
F - Creditors Holding Unsecured                                    Yes                3                                           26,502.96
      Nonpriority Claims
G - Executory Contracts and                                        Yes                1
      Unexpired Leases

H - Codebtors                                                      Yes                1


I - Current Income of Individual                                   Yes                1                                                                        0.00
      Debtor(s)
J - Current Expenditures of                                        Yes                2                                                                  4,322.95
      Individual Debtor(s)

   Total Number of Sheets of ALL Schedules                                            17


                                                                              Total Assets            194,590.00


                                                                                                Total Liabilities                216,304.70




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Form 6-Summ2
(10/05)




                                                                   United States Bankruptcy Court
                                                                                 District of Connecticut
  In re          Ernesto Toledo-Hernandez                                                                                  Case No.
                                                                                                                ,
                                                                                              Debtor
                                                                                                                           Chapter              7




                         STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 U.S.C. § 159)
                                          [Individual Debtors Only]
          Summarize the following types of liabilities, as reported in the Schedules, and total them.



            Type of Liability                                                                          Amount

            Domestic Support Obligations (from Schedule E)                                                          0.00

            Taxes and Certain Other Debts Owed to Governmental Units
            (from Schedule E)                                                                                   2,502.00

            Claims for Death or Personal Injury While Debtor Was Intoxicated
            (from Schedule E)                                                                                       0.00

            Student Loan Obligations (from Schedule F)                                                              0.00

            Domestic Support, Separation Agreement, and Divorce Decree
            Obligations Not Reported on Schedule E                                                                  0.00

            Obligations to Pension or Profit-Sharing, and Other Similar Obligations
            (from Schedule F)                                                                                       0.00

                                                                                      TOTAL                     2,502.00



          The foregoing information is for statistical purposes only under 28 U.S.C § 159.




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                   Case 06-30183                      Doc 1            Filed 02/21/06            Entered 02/21/06 16:33:39              Page 8 of 42
Form B6A
(10/05)


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  In re          Ernesto Toledo-Hernandez                                                                                 Case No.
                                                                                                              ,
                                                                                                Debtor

                                                                  SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                              Husband,     Current Value of
                                                                                      Nature of Debtor's       Wife,      Debtor's Interest in          Amount of
                 Description and Location of Property                                 Interest in Property                 Property, without
                                                                                                               Joint, or Deducting                     Secured Claim
                                                                                                             Community             any Secured
                                                                                                                          Claim or Exemption

15 Chew Street, West Haven                                                            50% owner                   -                  190,000.00               187,299.74




                                                                                                              Sub-Total >            190,000.00       (Total of this page)

                                                                                                                      Total >        190,000.00
  0      continuation sheets attached to the Schedule of Real Property                                        (Report also on Summary of Schedules)
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                   Case 06-30183                      Doc 1            Filed 02/21/06             Entered 02/21/06 16:33:39                   Page 9 of 42
Form B6B
(10/05)


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  In re          Ernesto Toledo-Hernandez                                                                                     Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."
                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

1.     Cash on hand                                               Cash on hand                                                           -                            20.00

2.     Checking, savings or other financial                   X
       accounts, certificates of deposit, or
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                          X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                           Miscellaneous household goods                                          -                        3,000.00
       including audio, video, and
       computer equipment.

5.     Books, pictures and other art                          X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                           Miscellaneous clothing                                                 -                           200.00

7.     Furs and jewelry.                                          Small jewelry, watch                                                   -                           100.00

8.     Firearms and sports, photographic,                         1 camera                                                               -                            20.00
       and other hobby equipment.

9.     Interests in insurance policies.                       X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                          X
    issuer.




                                                                                                                                         Sub-Total >            3,340.00
                                                                                                                             (Total of this page)

  2      continuation sheets attached to the Schedule of Personal Property

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Form B6B
(10/05)




  In re          Ernesto Toledo-Hernandez                                                                                     Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                                        (Continuation Sheet)

                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

11. Interests in an education IRA as                          X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                        X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                           100% interest in Big Ern's Dream Floors, LLC -                         -                              0.00
    and unincorporated businesses.                                liabilities exceed assets - No value
    Itemize.

14. Interests in partnerships or joint                        X
    ventures. Itemize.

15. Government and corporate bonds                            X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                      X

17. Alimony, maintenance, support, and                        X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owing debtor                       X
    including tax refunds. Give
    particulars.

19. Equitable or future interests, life                       X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                              X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                         X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                         Sub-Total >                  0.00
                                                                                                                             (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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Form B6B
(10/05)




  In re          Ernesto Toledo-Hernandez                                                                                     Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                                        (Continuation Sheet)

                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

22. Patents, copyrights, and other                            X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                           X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                      X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        X
    other vehicles and accessories.

26. Boats, motors, and accessories.                           X

27. Aircraft and accessories.                                 X

28. Office equipment, furnishings, and                        X
    supplies.

29. Machinery, fixtures, equipment, and                       X
    supplies used in business.

30. Inventory.                                                X

31. Animals.                                                      2 dogs, 2 parrots, 1 canary                                             -                           50.00

32. Crops - growing or harvested. Give                        X
    particulars.

33. Farming equipment and                                     X
    implements.

34. Farm supplies, chemicals, and feed.                       X

35. Other personal property of any kind                           Miscellaneous work and hand tools                                       -                       1,200.00
    not already listed. Itemize.




                                                                                                                                         Sub-Total >            1,250.00
                                                                                                                             (Total of this page)
                                                                                                                                              Total >           4,590.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                                     (Report also on Summary of Schedules)
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 Form B6C
 (10/05)


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   In re          Ernesto Toledo-Hernandez                                                                                Case No.
                                                                                                                 ,
                                                                                                Debtor

                                                SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor elects the exemptions to which debtor is entitled under:                                          Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                          $125,000.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                   Value of            Current Value of
                    Description of Property                                                Each Exemption                       Claimed             Property Without
                                                                                                                               Exemption          Deducting Exemption
Real Property
15 Chew Street, West Haven                                                        11 U.S.C. § 522(d)(1)                                    1.00             190,000.00

Cash on Hand
Cash on hand                                                                      11 U.S.C. § 522(d)(5)                                 20.00                      20.00

Household Goods and Furnishings
Miscellaneous household goods                                                     11 U.S.C. § 522(d)(3)                              3,000.00                  3,000.00

Wearing Apparel
Miscellaneous clothing                                                            11 U.S.C. § 522(d)(3)                                200.00                     200.00

Furs and Jewelry
Small jewelry, watch                                                              11 U.S.C. § 522(d)(4)                                100.00                     100.00

Firearms and Sports, Photographic and Other Hobby Equipment
1 camera                                            11 U.S.C. § 522(d)(3)                                                               20.00                      20.00

Animals
2 dogs, 2 parrots, 1 canary                                                       11 U.S.C. § 522(d)(5)                                 50.00                      50.00

Other Personal Property of Any Kind Not Already Listed
Miscellaneous work and hand tools                      11 U.S.C. § 522(d)(5)                                                         1,200.00                  1,200.00




    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re          Ernesto Toledo-Hernandez                                                                                          Case No.
                                                                                                                       ,
                                                                                                      Debtor

                                       SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property
 of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
 and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
 garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
      List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose
 the child's name. See 11 U.S.C§112; Fed.R.Bankr.P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the
 marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the
 claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If
 the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                 C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                    O                                                              O    N   I
                                                                 D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                                   E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                  B   W               NATURE OF LIEN, AND                        I    Q   U                      PORTION, IF
                                                                 T   J              DESCRIPTION AND VALUE                       N    U   T
                                                                                                                                                DEDUCTING
           AND ACCOUNT NUMBER                                    O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                     C                   OF PROPERTY
                                                                 R
                                                                                        SUBJECT TO LIEN
                                                                                                                                E    D   D     COLLATERAL
                                                                                                                                N    A
                                                                                                                                T    T
Account No.                                                              2004                                                        E
                                                                                                                                     D

02Town of West Haven                                                     Property taxes
Tax Collector
355 Main Street                                                          15 Chew Street, West Haven
                                                                X -
West Haven, CT 06516

                                                                          Value $                              190,000.00                          7,000.00                   0.00
Account No.                                                              2004

04Washington Mutual Bank FA                                              First Mortgage
9451 Corbin Avenue
Northridge, CA 91324                                                     15 Chew Street, West Haven
                                                                X -

                                                                          Value $                              190,000.00                        151,289.54                   0.00
Account No.
                                                                          Reiner, Reiner & Bendett
Representing:                                                             160 Farmington Avenue
04Washington Mutual Bank FA                                               Farmington, CT 06032



                                                                          Value $
Account No.                                                              2004

08Hamden Associates, LLC                                                 Judgment Lien
1315 Dixwell Ave
Hamden, CT 06514                                                         15 Chew Street, West Haven
                                                                X -

                                                                          Value $                              190,000.00                         29,010.20                   0.00
                                                                                                                             Subtotal
 1
_____ continuation sheets attached                                                                                                               187,299.74
                                                                                                                    (Total of this page)




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   In re            Ernesto Toledo-Hernandez                                                                                      Case No.
                                                                                                                     ,
                                                                                                      Debtor


                                       SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
                                                                                          (Continuation Sheet)

                                                                 C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                     O                                                            O    N   I
                                                                 D   H             DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
           AND MAILING ADDRESS                                   E                                                            T    I   P       WITHOUT        UNSECURED
                                                                     W               NATURE OF LIEN, AND                                                      PORTION, IF
            INCLUDING ZIP CODE,                                  B
                                                                                    DESCRIPTION AND VALUE
                                                                                                                              I    Q   U
                                                                                                                                              DEDUCTING
                                                                 T   J                                                        N    U   T                         ANY
           AND ACCOUNT NUMBER                                    O   C                   OF PROPERTY                          G    I   E       VALUE OF
              (See instructions.)                                R
                                                                                        SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No.                                                                                                                        E
                                                                          Rolnick & Reger                                          D

Representing:                                                             PO Box 185650
08Hamden Associates, LLC                                                  Hamden, CT 06518



                                                                          Value $
Account No.




                                                                          Value $
Account No.




                                                                          Value $
Account No.




                                                                          Value $
Account No.




                                                                          Value $
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Sheet _____    1
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                                     0.00
Schedule of Creditors Holding Secured Claims                                                                      (Total of this page)
                                                                                                                              Total            187,299.74
                                                                                                    (Report on Summary of Schedules)

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(10/05)


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  In re          Ernesto Toledo-Hernandez                                                                     Case No.
                                                                                                    ,
                                                                                       Debtor

                      SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
     unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
     including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
     debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
     the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See
     11 U.S.C.§112; Fed.R.Bankr.P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the
     entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of
     them or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or
     Community". If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column
     labeled "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one
     of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
     Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all
     amounts entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. If applicable, also
     report this total on the Means Test form.

           Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
         Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
     11 U.S.C. § 507(a)(1).
         Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier
     of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
         Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
     independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or
     the cessation of business, which ever occurred first, to the extent provided in 11 U.S.C. § 507 (a)(4).
        Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
           Certain farmers and fishermen
           Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
        Deposits by individuals
        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).
           Taxes and certain other debts owed to governmental units
           Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C § 507(a)(8).
         Commitments to maintain the capital of an insured depository institution
         Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
     of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
        Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




    *Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
    adjustment.
                                                            1      continuation sheets attached
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 (10/05)




   In re            Ernesto Toledo-Hernandez                                                                                      Case No.
                                                                                                                     ,
                                                                                                      Debtor

                       SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                          (Continuation Sheet)
                                                                                                                              Taxes and Certain Other Debts
                                                                                                                               Owed to Governmental Units
                                                                                                                                           TYPE OF PRIORITY
                                                                 C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                    O                                                            O    N   I
           AND MAILING ADDRESS                                   D
                                                                     H
                                                                                                                              N    L   S                        AMOUNT
                                                                 E              DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          ENTITLED TO
            INCLUDING ZIP CODE,                                  B   W
                                                                              AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                              OF CLAIM
           AND ACCOUNT NUMBER                                    T   J                                                        N    U   T                        PRIORITY
                                                                 O                                                            G    I   E
              (See instructions.)                                R   C                                                        E    D   D
                                                                                                                              N    A
                                                                                                                              T    T
Account No.                                                               Federal Income taxes                                     E
                                                                                                                                   D

Internal Revenue Service
135 High Street, Stop 155
Hartford, CT 06103
                                                                     -                                                        X        X

                                                                                                                                                      1.00                    1.00
Account No.                                                               State income taxes

State of Connecticut
Department of Revenue
25 Sigourney Street
                                                                     -                                                        X        X
Hartford, CT 06106-5003

                                                                                                                                                      1.00                    1.00
Account No.                                                               Auto taxes

Town of West Haven
Tax Collector
355 Main Street
                                                                     -
West Haven, CT 06516

                                                                                                                                                  2,500.00              2,500.00
Account No.




Account No.




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Sheet _____    1
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                                  2,502.00             2,502.00
Schedule of Creditors Holding Unsecured Priority Claims                                                           (Total of this page)
                                                                                                                              Total               2,502.00             2,502.00
                                                                                                    (Report on Summary of Schedules)

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   In re          Ernesto Toledo-Hernandez                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor


                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
 priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor
 has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate
 that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C.§112; Fed.R.Bankr.P. 1007(m). Do not include claims listed in
 Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community maybe liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                           O                                                           O   N   I
                 AND MAILING ADDRESS                                           D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                          E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                   W
                 AND ACCOUNT NUMBER
                                                                               B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                       AMOUNT OF CLAIM
                                                                               T   J                                                       N   U   T
                                                                               O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                   R
                                                                                   C
                                                                                                                                           E   D   D
                                                                                                                                           N   A
Account No. 05-216                                                                     2004 to present                                     T   T
                                                                                                                                               E
                                                                                       Business expense                                        D

Albrecht & Zelman
Steven M. Zelman                                                                   -
PO Box 511
Bloomfield, CT 06002-0511
                                                                                                                                                                       4,534.58
Account No.                                                                            2004 to present
                                                                                       Any personal liability
Evelyn Willis
115 Kennedy Drive                                                              X -
Orange, CT 06477

                                                                                                                                                                       7,105.20
Account No.                                                                            Brian M. Gildea & Associates
                                                                                       512 Blake Street
Representing:                                                                          New Haven, CT 06515
Evelyn Willis




Account No. 2032480080                                                                 2004 to present
                                                                                       Business expense
Infotel
94 Main Mill Street                                                                -
Plattsburgh, NY 12901

                                                                                                                                                                         436.76

                                                                                                                                         Subtotal
 2
_____ continuation sheets attached                                                                                                                                   12,076.54
                                                                                                                               (Total of this page)




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 (10/05)




   In re            Ernesto Toledo-Hernandez                                                                                Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
                                                                                   W
                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                               B                                                           I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. BED0080                                                                    2004 to present                                         E
                                                                                       Business expense                                        D

Manley's Carpet Supplies
65 Railroad Ave.                                                                   -
West Haven, CT 06516

                                                                                                                                                                    1,078.50
Account No. 0384729                                                                    2004 to present
                                                                                       Business lease
Northern Leasing Systems, Inc.
PO Box 1027                                                                        -
Sioux Falls, SD 57101-1027

                                                                                                                                                                      410.30
Account No. 203 248 0080 213                                                           2004 to present
                                                                                       Telephone
SBC
PO Box 5076                                                                        -
Saginaw, MI 48605-5076

                                                                                                                                                                         1.10
Account No. 367677-208012                                                              2004 to present
                                                                                       Utility
SCGC
PO Box 1999                                                                        -
Augusta, ME 04332-1999

                                                                                                                                                                    2,170.32
Account No. 6035517871917034                                                           2004 to present
                                                                                       Business expense
Staples Credit Plan
PO Box 9163                                                                        -
Des Moines, IA 50368-9163

                                                                                                                                                                      737.98

           1
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                    4,398.20
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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 (10/05)




   In re            Ernesto Toledo-Hernandez                                                                                      Case No.
                                                                                                                         ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                             C   U   D
                      CREDITOR'S NAME,                                         O                                                                  O   N   I
                    AND MAILING ADDRESS                                        D   H                                                              N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
                                                                                   W
                                                                                               DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                               B                                                                  I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                       (See instructions.)                                     R                                                                  E   D   D
                                                                                                                                                  N   A
                                                                                                                                                  T   T
Account No. 144321                                                                     2004 to present                                                E
                                                                                       Business expense                                               D

Transwestern Publishing
Dept. 0681                                                                         -
Denver, CO 80271

                                                                                                                                                                             648.00
Account No.                                                                            2004
                                                                                       Business expense
Trash Master, LLC
PO Box 120628                                                                      -
East Haven, CT 06512-0628

                                                                                                                                                                             172.22
Account No. 978952                                                                     2004
                                                                                       Business expense
United Mercantile Agencies, In
7-11 South Broadway                                                                -
White Plains, NY 10602-0829

                                                                                                                                                                           2,397.06
Account No. 043947                                                                     2005
                                                                                       Business expense
Yellow Book-NY
PO Box 580                                                                         -
Newark, NJ 07101

                                                                                                                                                                           6,810.94
Account No.                                                                            Kantrovitz & Brownstein, PC
                                                                                       One Bradley Road, Suite 305
Representing:                                                                          PO Drawer 3557
                                                                                       Woodbridge, CT 06525
Yellow Book-NY




           2
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                         Subtotal
                                                                                                                                                                         10,028.22
Creditors Holding Unsecured Nonpriority Claims                                                                                        (Total of this page)
                                                                                                                                                  Total
                                                                                                                        (Report on Summary of Schedules)                 26,502.96


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Form B6G
(10/05)


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  In re             Ernesto Toledo-Hernandez                                                                      Case No.
                                                                                                       ,
                                                                                       Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                             State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                   State contract number of any government contract.




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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  In re          Ernesto Toledo-Hernandez                                                                     Case No.
                                                                                                    ,
                                                                                       Debtor

                                                                        SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                   NAME AND ADDRESS OF CODEBTOR                                           NAME AND ADDRESS OF CREDITOR

                   Lisett Toledo                                                          04Washington Mutual Bank FA
                   15 Chew Street                                                         9451 Corbin Avenue
                   West Haven, CT 06516                                                   Northridge, CA 91324

                   Lisett Toledo                                                          02Town of West Haven
                   15 Chew Street                                                         Tax Collector
                   West Haven, CT 06516                                                   355 Main Street
                                                                                          West Haven, CT 06516

                   Lisett Toledo                                                          08Hamden Associates, LLC
                   15 Chew Street                                                         1315 Dixwell Ave
                   West Haven, CT 06516                                                   Hamden, CT 06514

                   Lisett Toledo                                                          Evelyn Willis
                   15 Chew Street                                                         115 Kennedy Drive
                   West Haven, CT 06516                                                   Orange, CT 06477




       0       continuation sheets attached to Schedule of Codebtors

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(10/05)


 In re     Ernesto Toledo-Hernandez                                                                    Case No.
                                                                         Debtor(s)

                         SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12, or 13 case whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
 Debtor's Marital Status:                                                      DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP:                                               AGE:
       Married                               daughter                                                    13
                                             son                                                         16
 Employment:                                             DEBTOR                                                   SPOUSE
 Occupation                         Unemployed
 Name of Employer
 How long employed
 Address of Employer

 INCOME: (Estimate of average monthly income)                                                                 DEBTOR                   SPOUSE
 1. Current monthly gross wages, salary, and commissions (Prorate if not paid monthly.)                 $             0.00       $             0.00
 2. Estimate monthly overtime                                                                           $             0.00       $             0.00

 3. SUBTOTAL                                                                                            $             0.00       $             0.00

 4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                               $             0.00       $             0.00
     b. Insurance                                                                                       $             0.00       $             0.00
     c. Union dues                                                                                      $             0.00       $             0.00
     d. Other (Specify):                                                                                $             0.00       $             0.00
                                                                                                        $             0.00       $             0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                      $             0.00       $             0.00

 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                     $             0.00       $             0.00

 7. Regular income from operation of business or profession or farm. (Attach detailed statement)        $             0.00       $             0.00
 8. Income from real property                                                                           $             0.00       $             0.00
 9. Interest and dividends                                                                              $             0.00       $             0.00
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or
      that of dependents listed above.                                                                  $             0.00       $             0.00
 11. Social security or other government assistance
 (Specify):                                                                                             $             0.00       $             0.00
                                                                                                        $             0.00       $             0.00
 12. Pension or retirement income                                                                       $             0.00       $             0.00
 13. Other monthly income
 (Specify):                                                                                             $             0.00       $             0.00
                                                                                                        $             0.00       $             0.00

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                     $             0.00       $             0.00

 15. TOTAL MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $             0.00       $             0.00

 16. TOTAL COMBINED MONTHLY INCOME:                           $                         0.00            (Report also on Summary of Schedules)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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(10/05)


 In re     Ernesto Toledo-Hernandez                                                           Case No.
                                                                  Debtor(s)


           SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
   Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

o Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                      $                1,200.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                         $                  300.00
                   b. Water and sewer                                                                      $                   72.40
                   c. Telephone                                                                            $                   58.00
                   d. Other See Detailed Expense Attachment                                                $                  275.00
3. Home maintenance (repairs and upkeep)                                                                   $                  150.00
4. Food                                                                                                    $                  700.00
5. Clothing                                                                                                $                  125.00
6. Laundry and dry cleaning                                                                                $                   58.00
7. Medical and dental expenses                                                                             $                   90.00
8. Transportation (not including car payments)                                                             $                  250.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $                  100.00
10. Charitable contributions                                                                               $                   10.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                              $                  165.39
                   b. Life                                                                                 $                    0.00
                   c. Health                                                                               $                    0.00
                   d. Auto                                                                                 $                  183.00
                   e. Other                                                                                $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) See Detailed Expense Attachment                                                 $                  306.16
13. Installment payments: (In chapter 11, 12 and 13 cases, do not list payments to be included in the
plan.)
                   a. Auto                                                                                 $                    0.00
                   b. Other                                                                                $                    0.00
                   c. Other                                                                                $                    0.00
                   d. Other                                                                                $                    0.00
14. Alimony, maintenance, and support paid to others                                                       $                    0.00
15. Payments for support of additional dependents not living at your home                                  $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)           $                    0.00
17. Other See Detailed Expense Attachment                                                                  $                  280.00

18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                           $                4,322.95
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Total monthly income from Line 16 of Schedule I                                                         $                    0.00
b. Total monthly expenses from Line 18 above                                                               $                4,322.95
c. Monthly net income (a. minus b.)                                                                        $               -4,322.95
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(10/05)
 In re     Ernesto Toledo-Hernandez                                          Case No.
                                                         Debtor(s)

                  SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                           Detailed Expense Attachment
Other Utility Expenditures:
Cell Service                                                                             $              190.00
Internet                                                                                 $               25.00
Cable/Satellite                                                                          $               60.00
Total Other Utility Expenditures                                                         $              275.00


Specific Tax Expenditures:
Real Property taxes                                                                      $              281.16
Auto taxes                                                                               $               25.00
Total Tax Expenditures                                                                   $              306.16




Other Expenditures:
Pet expenses                                                                             $               60.00
School Expenses                                                                          $              120.00
Personal grooming                                                                        $              100.00
Total Other Expenditures                                                                 $              280.00
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Official Form 6-Decl.
(10/05)

                                                                  United States Bankruptcy Court
                                                                                District of Connecticut
 In re       Ernesto Toledo-Hernandez                                                                                Case No.
                                                                                             Debtor(s)               Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                19  sheets [total shown on summary page plus 2], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date February 21, 2006                                                         Signature    /s/ Ernesto Toledo-Hernandez
                                                                                             Ernesto Toledo-Hernandez
                                                                                             Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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Form 8
(10/05)

                                                                  United States Bankruptcy Court
                                                                                District of Connecticut
 In re       Ernesto Toledo-Hernandez                                                                                      Case No.
                                                                                             Debtor(s)                     Chapter       7


                                          INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

n         I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
o         I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
o         I intend to do the following with respect to property of the estate which secures those debts or is subject to a lease:

                                                                                                                                      Property will be   Debt will be
                                                                                                                     Property         redeemed           reaffirmed
                                                                                                    Property will be is claimed       pursuant to        pursuant to
 Description of Secured Property                                   Creditor's Name                  Surrendered      as exempt        11 U.S.C. § 722    11 U.S.C. § 524(c)
 -NONE-



                                                                                                    Lease will be
                                                                                                    assumed pursuant
 Description of Leased                                                                              to 11 U.S.C. §
 Property                                                          Lessor's Name                    362(h)(1)(A)
 -NONE-


 Date February 21, 2006                                                         Signature    /s/ Ernesto Toledo-Hernandez
                                                                                             Ernesto Toledo-Hernandez
                                                                                             Debtor




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Official Form 7
(10/05)


                                                                  United States Bankruptcy Court
                                                                                District of Connecticut
 In re       Ernesto Toledo-Hernandez                                                                             Case No.
                                                                                             Debtor(s)            Chapter        7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

                  1. Income from employment or operation of business

    None          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
    o             business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                  year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                  calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                  report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $82,066.00                               2004 - Gross income from business
                                                                    (company operated at a loss)
                           $42,000.00                               2005 - Gross income from business
                                                                    (company operated at a loss)
                           $0.00                                    2006 - Gross income from business - business closed




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                                                                                                                                                            2

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
    o          during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $3,375.35                                2006 - Pension withdrawal

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.
    n
               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all
               property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                          AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                       AMOUNT PAID          OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
    n          immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
               transfer is not less than $5,000. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                      AMOUNT
                                                                                   DATES OF                            PAID OR
                                                                                   PAYMENTS/                         VALUE OF        AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                        TRANSFERS          OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
    n          creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                    AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                AMOUNT PAID          OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
    o          this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY          STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION             DISPOSITION
 Deutsche Bank Nation vs.                        foreclosure                                 Superior/New Haven       pending
 Ernesto Toledo-Hernandez, et
 al
 CV XX-XXXXXXX
 Hamden Associates vs.                           foreclosure                                 Superior/New Haven       pending
 Ernesto Toledo
 CV XX-XXXXXXX
 Evelyn Willis vs. Ernest                        tort, other                                 Superior/New Haven       pending
 Toledo, et al
 CV XX-XXXXXXX




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                                                                                                                                                             3
    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
    o          preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
      BENEFIT PROPERTY WAS SEIZED                                               DATE OF SEIZURE               PROPERTY
 People's Bank                                                                                        bank execution
 West Haven, CT 06516

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
    n          returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
    n          this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
    n          preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
    n          and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
    n          since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS




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                                                                                                                                                                4

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
    o          concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                         THAN DEBTOR                              OF PROPERTY
 Law Offices of Neil Crane, LLC                                                                                        $1,200.00
 2700 Whitney Avenue
 Hamden, CT 06518

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
    n          transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                       DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                          AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
    n          trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF             VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)            IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
    o          otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                    TYPE OF ACCOUNT, LAST FOUR
                                                                                    DIGITS OF ACCOUNT NUMBER,           AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                  OR CLOSING
 CT Carpenters Annuity Fund                                                       pension                               1/06
 Hamden, CT 06518                                                                 $0
 People's Bank                                                                    business checking                     12/05
 Orange, CT 06477                                                                 $0
 People's Bank                                                                    business savings                      12/05
 Orange, CT 06477                                                                 $0

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
    n          immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                      DESCRIPTION             DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                      OF CONTENTS              SURRENDER, IF ANY




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                                                                                                                                                             5

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
    n          commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                       AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.
    o
                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                                PROPERTY                     LOCATION OF PROPERTY
 Lisett Toledo                                                                    1995 Ford Econoline Van              15 Chew Street
 15 Chew Street                                                                   $2,450                               West Haven, CT
 West Haven, CT 06516

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
    o          occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                            DATES OF OCCUPANCY
 186 Canton Street                                                                same                                 1997 - 2002
 West Haven, CT

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
    n          Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
    n          or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                       DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                         NOTICE                LAW




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                                                                                                                                                               6
    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
    n          Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                       DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                         NOTICE                  LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
    n          the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
    o          ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                        LAST FOUR DIGITS
                                        OF SOC. SEC. NO./
                                        COMPLETE EIN OR
                                        OTHER TAXPAYER                                                                             BEGINNING AND
 NAME                                   I.D. NO.                         ADDRESS                        NATURE OF BUSINESS         ENDING DATES
 Big Ern's Dream Floor,                                                  1315 Dixwell Ave/232 Capt.     carpet store               2004 - 2005 (no longer
 LLC                                                                     Thomas Blvd                                               in operation)
                                                                         Hamden/West Haven

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
    n
 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
    o          supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                            DATES SERVICES RENDERED
 Ernest Toledo-Hernandez                                                                                     2004 - 2005
 15 Chew Street
 West Haven, CT 06516


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                                                                                                                                                                   7
    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
    n          of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                      DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
    o          of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS
 Charles Bailey, CPA                                                                                750 Old Main Street, Ste. 303
                                                                                                    Rocky Hill, CT 06067

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
    n          issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                          DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
    n          and the dollar amount and basis of each inventory.

                                                                                                                    DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                         (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
    n
                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
    n
 NAME AND ADDRESS                                                               NATURE OF INTEREST                            PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
    n          controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                    NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                               OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
    n          commencement of this case.

 NAME                                                              ADDRESS                                                   DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
    n          immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                               DATE OF TERMINATION




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                                                                                                                                                              8

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
    n          in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                      OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                         VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
    n          group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                               TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
    n          employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                     TAXPAYER IDENTIFICATION NUMBER (EIN)




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                                                                                                                                                                      9

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date February 21, 2006                                                         Signature    /s/ Ernesto Toledo-Hernandez
                                                                                             Ernesto Toledo-Hernandez
                                                                                             Debtor
                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                  United States Bankruptcy Court
                                                                                District of Connecticut
 In re       Ernesto Toledo-Hernandez                                                                                 Case No.
                                                                                             Debtor(s)                Chapter    7


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                         $                  1,200.00
              Prior to the filing of this statement I have received                                               $                  1,200.00
              Balance Due                                                                                         $                      0.00

2.     $     274.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                   Debtor                   Other (specify):

4.     The source of compensation to be paid to me is:
                   Debtor                   Other (specify):

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any
               other adversary proceeding.
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       February 21, 2006                                                              /s/ Neil Crane
                                                                                             Neil Crane
                                                                                             Law Offices of Neil Crane, LLC
                                                                                             2700 Whitney Avenue
                                                                                             Hamden, CT 06518
                                                                                             203-230-2233 Fax: 203-230-8484
                                                                                             neil.crane@snet.net




             /s/ Ernesto Toledo-Hernandez
Debtor




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                                       STATEMENT OF INFORMATION REQUIRED BY 11 U.S.C. §341

INTRODUCTION
Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Trustee, United States Department of Justice, has prepared this information sheet to
help you understand some of the possible consequences of filing a bankruptcy petition under chapter 7 of the Bankruptcy Code. This information is intended to make
you aware of...

(1)          the potential consequences of seeking a discharge in bankruptcy, including the effects on credit history;
(2)          the effect of receiving a discharge of debts
(3)          the effect of reaffirming a debt; and
(4)          your ability to file a petition under a different chapter of the Bankruptcy Code.

There are many other provisions of the Bankruptcy Code that may affect your situation. This information sheet contains only general principles of law and is not a
substitute for legal advice. If you have questions or need further information as to how the bankruptcy laws apply to your specific case, you should consult with your
lawyer.

WHAT IS A DISCHARGE?
The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you listed on your bankruptcy schedules. A discharge is a court order that
says you do not have to repay your debts, but there are a number of exceptions. Debts which may not be discharged in your chapter 7 case include, for example, most
taxes, child support, alimony, and student loans; court-ordered fines and restitution; debts obtained through fraud or deception; and personal injury debts caused by
driving while intoxicated or taking drugs. Your discharge may be denied entirely if you, for example, destroy or conceal property; destroy, conceal or falsify records;
or make a false oath. Creditors cannot ask you to pay any debts which have been discharged. You can only receive a chapter 7 discharge once every eight (8) years.

WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?
The fact that you filed bankruptcy can appear on your credit report for as long as 10 years. Thus, filing a bankruptcy petition may affect your ability to obtain credit in
the future. Also, you may not be excused from repaying any debts that were not listed on your bankruptcy schedules or that you incurred after you filed for
bankruptcy.

WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?
After you file your petition, a creditor may ask you to reaffirm a certain debt or you may seek to do so on your own. Reaffirming a debt means that you sign and file
with the court a legally enforceable document, which states that you promise to repay all or a portion of the debt that may otherwise have been discharged in your
bankruptcy case. Reaffirmation agreements must generally be filed with the court within 60 days after the first meeting of the creditors.

Reaffirmation agreements are strictly voluntary — they are not required by the Bankruptcy Code or other state or federal law. You can voluntarily repay any debt
instead of signing a reaffirmation agreement, but there may be valid reasons for wanting to reaffirm a particular debt.

Reaffirmation agreements must not impose an undue burden on you or your dependents and must be in your best interest. If you decide to sign a reaffirmation
agreement, you may cancel it at any time before the court issues your discharge order or within sixty (60) days after the reaffirmation agreement was filed with the
court, whichever is later. If you reaffirm a debt and fail to make the payments required in the reaffirmation agreement, the creditor can take action against you to
recover any property that was given as security for the loan and you may remain personally liable for any remaining debt.

OTHER BANKRUPTCY OPTIONS
You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs. Even if you have already filed for relief under chapter 7, you may be
eligible to convert your case to a different chapter.

Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is appointed to collect and sell, if economically feasible, all property you own
that is not exempt from these actions.

Chapter 11 is the reorganization chapter most commonly used by businesses, but it is also available to individuals. Creditors vote on whether to accept or reject a plan,
which also must be approved by the court. While the debtor normally remains in control of the assets, the court can order the appointment of a trustee to take
possession and control of the business.

Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers must propose a plan to repay their creditors over a three-to-five year period
and it must be approved by the court. Plan payments are made through a chapter 12 trustee, who also monitors the debtor’s farming operations during the pendency of
the plan.

Finally, chapter 13 generally permits individuals to keep their property by repaying creditors out of their future income. Each chapter 13 debtor writes a plan which
must be approved by the bankruptcy court. The debtor must pay the chapter 13 trustee the amounts set forth in their plan. Debtors receive a discharge after they
complete their chapter 13 repayment plan. Chapter 13 is only available to individuals with regular income whose debts do not exceed $1,000,000 ($250,000 in
unsecured debts and $750,000 in secured debts).

AGAIN, PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR EXPLANATION,
INCLUDING HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.

 /s/ Ernesto Toledo-Hernandez                                                                February 21, 2006
 Debtor's Signature                                                                          Date




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                                                                  United States Bankruptcy Court
                                                                                District of Connecticut
 In re       Ernesto Toledo-Hernandez                                                                          Case No.
                                                                                             Debtor(s)         Chapter    7




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      February 21, 2006                                                   /s/ Ernesto Toledo-Hernandez
                                                                                Ernesto Toledo-Hernandez
                                                                                Signature of Debtor




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                        Ernesto Toledo-Hernandez
                        15 Chew Street
                        West Haven, CT 06516


                        Neil Crane
                        Law Offices of Neil Crane, LLC
                        2700 Whitney Avenue
                        Hamden, CT 06518
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                    02Town of West Haven
                    Tax Collector
                    355 Main Street
                    West Haven, CT 06516


                    04Washington Mutual Bank FA
                    9451 Corbin Avenue
                    Northridge, CA 91324


                    08Hamden Associates, LLC
                    1315 Dixwell Ave
                    Hamden, CT 06514


                    Albrecht & Zelman
                    Steven M. Zelman
                    PO Box 511
                    Bloomfield, CT 06002-0511


                    Brian M. Gildea & Associates
                    512 Blake Street
                    New Haven, CT 06515


                    Evelyn Willis
                    115 Kennedy Drive
                    Orange, CT 06477


                    Infotel
                    94 Main Mill Street
                    Plattsburgh, NY 12901


                    Internal Revenue Service
                    135 High Street, Stop 155
                    Hartford, CT 06103


                    Kantrovitz & Brownstein, PC
                    One Bradley Road, Suite 305
                    PO Drawer 3557
                    Woodbridge, CT 06525


                    Lisett Toledo
                    15 Chew Street
                    West Haven, CT 06516
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                    Manley's Carpet Supplies
                    65 Railroad Ave.
                    West Haven, CT 06516


                    Northern Leasing Systems, Inc.
                    PO Box 1027
                    Sioux Falls, SD 57101-1027


                    Reiner, Reiner & Bendett
                    160 Farmington Avenue
                    Farmington, CT 06032


                    Rolnick & Reger
                    PO Box 185650
                    Hamden, CT 06518


                    SBC
                    PO Box 5076
                    Saginaw, MI 48605-5076


                    SCGC
                    PO Box 1999
                    Augusta, ME 04332-1999


                    Staples Credit Plan
                    PO Box 9163
                    Des Moines, IA 50368-9163


                    State of Connecticut
                    Department of Revenue
                    25 Sigourney Street
                    Hartford, CT 06106-5003


                    Town of West Haven
                    Tax Collector
                    355 Main Street
                    West Haven, CT 06516


                    Transwestern Publishing
                    Dept. 0681
                    Denver, CO 80271
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                    Trash Master, LLC
                    PO Box 120628
                    East Haven, CT 06512-0628


                    United Mercantile Agencies, In
                    7-11 South Broadway
                    White Plains, NY 10602-0829


                    Yellow Book-NY
                    PO Box 580
                    Newark, NJ 07101
